Case 1:04-cr-10103-.]DT Document 35 Filed 06/24/05 Page 1 of 2 Page|D 37
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m THE uNITED sTATEs DlsTRlCT COURT 4 ” /P. 39
FOR THE WESTERN DISTRICT OF TENNE z SEi;f/P /;»

r,*'.' f

EASTERN DIVISION ;..‘/~` r. //--S

UNI'I`ED STATES OF AMERICA

vs CR NO. 1:04-10103-01-T

DAV[D BONDS

ORDER REVOKING BOND
This cause came on to be heard on June 22, 2005, the defendant failed to appear for the
scheduled report date. This Court issued a Warrant for his arrest It is therefore, ORDERED that
the defendant’s bond be and is hereby revoked. The defendant Will be held in custody pending
the tlial of this matter.

lT IS SO ORDERED.
JAM D. TODD
D STATES DISTRICT JUDGE

DATE: OQ§/ ;Y/WLMS/

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UNITED sTATE DISTRIC COURT - WESERNT

    

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This notice confirms a copy of the document docketed as number 35 in
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Honorable J ames Todd
US DISTRICT COURT

